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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Richmond Division


IN RE:       OLD ANR, LLC, et al.,                          Case No. 19-00302-KRH
                                                            Miscellaneous Proceeding
                  Debtors.
__________________________________

                  NOTICE OF AGENDA OF MATTERS SET FOR
                 MAY 29, 2019 STATUS CONFERENCE AT 1:00 P.M.

   1. Response of the Reorganized Debtors Regarding Disbursement of the Settlement Payment
      [ECF No. 60] (the “Proposed Disbursement”) filed by Old ANR, LLC (f/k/a Alpha
      Natural Resources, Inc.) and its affiliates.

   2. Status of McKinsey Recovery & Transformation Services U.S., LLC’s certification
      concerning any direct or indirect benefit of the Proposed Disbursement.

   3. Any other matter to properly come before the Court.

DATED:       May 23, 2019                      /s/ Kevin R. Huennekens
                                          UNITED STATES BANKRUPTCY JUDGE



                                          ENTERED ON DOCKET: May 23, 2019
